      Case: 1:19-cv-05981 Document #: 1 Filed: 09/06/19 Page 1 of 27 PageID #:1




                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

                                                 }
IRENE D. MARTINEZ, Individually and              }
as Special Administrator of the Estate of        }
Martin Pagan, Jr., deceased,                     }
                                                 }
                Plaintiff,                       }
                                                 }
        vs.                                      }    No. _____________
                                                 }
UNITED STATES OF AMERICA                         }    Jury Demand
and SANDRA L. HOOGLAND, M.D.,                    }
                                                 }
                Defendants.                      }
                                                 }

                                      COMPLAINT AT LAW

        The Plaintiff, Irene D. Martinez, individually and as Special Administrator of the Estate

of Martin Pagan, Jr., deceased, by and through her attorneys, the Law Firm of Mertes & Mertes,

P.C., and for her cause of action against the Defendants, United States of America and Sandra L.

Hoogland, M.D., states as follows:

                                      Jurisdiction and Venue

        1. The Plaintiff is Irene D. Martinez, both individually and as the Special Administrator

of the Estate of Martin Pagan, Jr., deceased. Irene D. Martinez is the natural mother of the

deceased, Martin Pagan, Jr. At all relevant times, Irene D. Martinez was and is a resident of the

State of Illinois and the County of Cook, and lived within the Northern District of Illinois

(hereinafter District).

        2. The Plaintiff, Irene D. Martinez, has been appointed the Special Administrator of the

Estate of Martin Pagan, Jr., deceased. A copy of the Order so appointing the Plaintiff, Irene D.

Martinez as the Special Administrator of the Estate of Martin Pagan, Jr., is identified as Exhibit 1



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      Case: 1:19-cv-05981 Document #: 1 Filed: 09/06/19 Page 2 of 27 PageID #:2




to this Complaint, and said Exhibit 1 is attached hereto and specifically incorporated herein.

       3. The acts of negligence alleged in this Complaint all took place within the District.

       4. The Defendant, Sandra L. Hoogland, M.D., is an employee and/or real or apparent

agent of Lawndale Christian Health Center, a Federally Qualified Healthcare Center.

       5. The Defendant, United States of America, is named as a Defendant as a result of its

responsibility for the negligent acts and/or omissions of its employees, including the

Defendant, Sandra L. Hoogland, M.D., pursuant to the Federal Tort Claims Act (FTCA) 28

U.S.C. § 2671, because the Defendant, Sandra L. Hoogland, M.D., was acting as a physician

employed by the United States of America and acting within the scope of her employment at all

times relevant to this Complaint and within this District.

       6. An administrative Tort Claim was filed with the Department of Health and Human

Services on December 4, 2018 and was denied on March 11, 2019. Therefore, this claim is

brought within six months after the date of mailing of Notice of Final Denial of the claim by the

agency to which it was presented.

       7. At all times relevant hereto, including but not limited to on and before December 4,

2016, Lawndale Christian Health Center, was a professional corporation engaged in the

business of providing medical care to members of the public, including the Plaintiff and

Plaintiff’s unborn child, Martin Pagan, Jr., by and through nurses and physicians, including the

defendant, Sandra L. Hoogland, M.D., and others, doing business in the State of Illinois and the

County of Cook, located within this District.

       8. The Defendant, United States of America, is responsible for the negligent acts and/or

omissions of its agents and employees pursuant to the doctrine of respondeat superior.

       9. Jurisdiction is conferred upon this Court pursuant to the Federal Tort Claims Act

(FTCA) 28 U.S.C. Section 1346(b)(1), Section 1402(b), Section 2679(d)(2) and Section 1367(a).


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       Case: 1:19-cv-05981 Document #: 1 Filed: 09/06/19 Page 3 of 27 PageID #:3



                                            Count 1
                     Estate of Martin Pagan, Jr. vs. United States of America
                    Medical Negligence: Wrongful Death of Martin Pagan, Jr.

        10. On December 4, 2016, Irene D. Martinez was a 21-year-old pregnant female.

        11. On December 4, 2016 and at all other times relevant hereto, Lawndale Christian

Health Center operated as a federally-funded health care center, located within the County of

Cook, State of Illinois.

        12. On December 4, 2016 and at all other times relevant hereto, Lawndale Christian

Health Center provided health care services to the general public that included, but were not

limited to, family medicine and obstetrics and gynecology.

        13. On December 4, 2016 and at all other times relevant hereto, Lawndale Christian

Health Center operated a clinic located at 3860 West Ogden Avenue, Chicago, Cook County,

Illinois.

        14. On December 4, 2016 and at all other times relevant hereto, the Defendant, United

States of America, employed a staff of health care professionals at Lawndale Christian Health

Center including but not limited to physicians, certified nurse midwives and other medical

practitioners.

        15. On December 4, 2016 and at all other times relevant hereto, the staff of health care

professionals including, but not limited to physicians, certified nurse midwives and other

medical practitioners working at Lawndale Christian Health Center, were the employees

and/or agents of the Defendant, United States of America.

        16. On December 4, 2016 and at all other times relevant hereto, the Defendant, United

States of America, permitted its staff of health care professionals to manage the care of patients

in various fields of medicine including, but not limited to, the medical fields of family practice

and obstetrics and gynecology.


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      Case: 1:19-cv-05981 Document #: 1 Filed: 09/06/19 Page 4 of 27 PageID #:4




         17. On December 4, 2016 and at all other times relevant hereto, the Defendant, Sandra L.

Hoogland, M.D., was acting as a physician employed by the United States of America and

acting within the scope of her employment at all times relevant to this Complaint and within

this District.

         18. On December 4, 2016, the pregnancy of Irene D. Martinez was forty (40) weeks plus

four (4) days in gestational duration. In other words, the pregnancy was four (4) days beyond

its projected due date.

         19. On December 4, 2016, Irene D. Martinez presented herself to the care of Sandra L.

Hoogland, M.D. at the Labor and Delivery Triage Department of Saint Anthony Hospital. At

that time, the Plaintiff, Irene D. Martinez, complained of cramping, contractions, and labor

pains.

         20. At that time, a fetal heart monitor was applied, and the fetal heart rate was thereby

recorded. Beginning at approximately 3:02 p.m. on December 4, 2016, the fetal heart rate

demonstrated a prolonged deceleration which can be associated with placental insufficiency.

         21. The prolonged deceleration of fetal heart rate represented a nonreactive non-stress

test (NST) of fetal heart rate. It demonstrated a condition suspicious for placental insufficiency.

         22. Sandra L. Hoogland, M.D. ordered a biophysical profile, which was interpreted as

representing a normal biophysical profile.

         23. Sandra L. Hoogland, M.D. thereafter ordered that Irene D. Martinez be discharged

from Saint Anthony Hospital’s Labor and Delivery Triage Department, with instructions to

return home and remain hydrated.

         24. On December 4, 2016, when Irene D. Martinez presented to Sandra L. Hoogland,

M.D. in the Labor and Delivery Triage Department of Saint Anthony Hospital, she was four


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      Case: 1:19-cv-05981 Document #: 1 Filed: 09/06/19 Page 5 of 27 PageID #:5




days past the due date of her pregnancy. The fetal heart rate demonstrated a prolonged

deceleration suspicious for placental insufficiency. At that time, and under those circumstances,

Sandra L. Hoogland, M.D. should have ordered the admission of Irene D. Martinez for

observation and/or induction of labor, instead of ordering her discharge from the hospital.

       25. On December 7, 2016, Irene D. Martinez presented to the Emergency Department of

Saint Anthony Hospital with complaints of continued cramping and loss of detectable fetal

movement. A stillborn baby was delivered by Caesarian section. The cause of death of stillborn

death was determined to be acute chorioamnionitis with deciduduitis with meconium staining,

resulting in aspiration pneumonia and congestion/hemorrhage of multiple organs.

       26. On and after December 4, 2016, and at all other times material, Defendant, United

States of America, by and through the acts and/or omissions of its employee and/or agent,

including but not limited to Sandra L. Hoogland, M.D., was negligent and deviated from the

standard of care and treatment of the Plaintiff in one or more of the following respects,

individually and/or collectively:

   a. Sandra L. Hoogland, M.D. failed to properly interpret the December 4, 2016 fetal heart
      rate as demonstrative of a prolonged deceleration;
   b. Sandra L. Hoogland, M.D. failed to properly interpret the December 4, 2016 fetal non-
      stress test as non-reactive;
   c. Sandra L. Hoogland, M.D. failed to order the admission of Irene D. Martinez to the
      hospital for observation; and/or
   d. Sandra L. Hoogland, M.D. failed to order the induction of labor of Irene D. Martinez.

       27. As a direct and proximate result of one or more of the foregoing negligent acts or

omissions on the part of the Defendant, United States of America, by and through the acts

and/or omissions of its employee and/or agent, including but not limited to Sandra L.

Hoogland, M.D., the Plaintiff’s decedent, Martin Pagan, Jr., sustained injuries that resulted in

the death of Martin Pagan, Jr..




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      Case: 1:19-cv-05981 Document #: 1 Filed: 09/06/19 Page 6 of 27 PageID #:6




        28. Irene D. Martinez, as mother, and Martin Pagan, as father, the only next of kin, each

of whom are still living, by reason of the death of Martin Pagan, Jr., have been deprived of the

decedent’s companionship, society, services, support and valuable services, which Martin

Pagan, Jr., deceased, would have given them, all to the damage of the Plaintiff as Special

Administrator of the Estate of Martin Pagan, Jr., including the expenses for funeral and burial.

        29. This action was filed pursuant to 740 ILCS 180/1, et.seq., commonly referred to as the

Wrongful Death Act.

        30. The Plaintiff has attached the Affidavit of her attorney, pursuant to the provisions of

735 ILCS 5/2-622(a)(2), verifying that this action has not been previously voluntarily dismissed

and that the Plaintiff has been able to obtain a consultation required by 735 ILCS 5/2-622(a)(1),

and such Affidavit has been identified and attached hereto as Exhibit 2. The corresponding

report of the qualified physician is attached hereto as Exhibit 3.

        WHEREFORE, Irene D. Martinez, as Special Administrator of the Estate of Martin

Pagan, Jr., deceased, demands judgment against Defendant, United States of America, by and

through the acts and/or omissions of its employee and/or agent including, but not limited to

Sandra Hoogland, M.D., in an amount in excess of Fifty Thousand Dollars ($50,000.00), plus

costs of suit.

                                           Count 2
                    Estate of Martin Pagan, Jr. vs. United States of America
                    Medical Negligence: Survival Action of Martin Pagan, Jr.

        31. On December 4, 2016, Irene D. Martinez was a 21-year-old pregnant female.

        32. On December 4, 2016 and at all other times relevant hereto, Lawndale Christian

Health Center operated as a federally-funded health care center, located within the County of

Cook, State of Illinois.




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       Case: 1:19-cv-05981 Document #: 1 Filed: 09/06/19 Page 7 of 27 PageID #:7




        33. On December 4, 2016 and at all other times relevant hereto, Lawndale Christian

Health Center provided health care services to the general public that included, but were not

limited to, family medicine and obstetrics and gynecology.

        34. On December 4, 2016 and at all other times relevant hereto, Lawndale Christian

Health Center operated a clinic located at 3860 West Ogden Avenue, Chicago, Cook County,

Illinois.

        35. On December 4, 2016 and at all other times relevant hereto, the Defendant, United

States of America, employed a staff of health care professionals at Lawndale Christian Health

Center including but not limited to physicians, certified nurse midwives and other medical

practitioners.

        36. On December 4, 2016 and at all other times relevant hereto, the staff of health care

professionals including, but not limited to physicians, certified nurse midwives and other

medical practitioners working at Lawndale Christian Health Center, were the employees

and/or agents of the Defendant, United States of America.

        37. On December 4, 2016 and at all other times relevant hereto, the Defendant, United

States of America, permitted its staff of health care professionals to manage the care of patients

in various fields of medicine including, but not limited to, the medical fields of family practice

and obstetrics and gynecology.

        38. On December 4, 2016 and at all other times relevant hereto, the Defendant, Sandra L.

Hoogland, M.D., was acting as a physician employed by the United States of America and

acting within the scope of her employment at all times relevant to this Complaint and within

this District.

        39. On December 4, 2016, the pregnancy of Irene D. Martinez was forty (40) weeks plus

four (4) days in gestational duration. In other words, the pregnancy was four (4) days beyond


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      Case: 1:19-cv-05981 Document #: 1 Filed: 09/06/19 Page 8 of 27 PageID #:8




its projected due date.

         40. On December 4, 2016, Irene D. Martinez presented herself to the care of Sandra L.

Hoogland, M.D. at the Labor and Delivery Triage Department of Saint Anthony Hospital. At

that time, the Plaintiff, Irene D. Martinez, complained of cramping, contractions, and labor

pains.

         41. At that time, a fetal heart monitor was applied, and the fetal heart rate was thereby

recorded. Beginning at approximately 3:02 p.m. on December 4, 2016, the fetal heart rate

demonstrated a prolonged deceleration which can be associated with placental insufficiency.

         42. The prolonged deceleration of fetal heart rate represented a nonreactive non-stress

test (NST) of fetal heart rate. It demonstrated a condition suspicious for placental insufficiency.

         43. Sandra L. Hoogland, M.D. ordered a biophysical profile, which was interpreted as

representing a normal biophysical profile.

         44. Sandra L. Hoogland, M.D. thereafter ordered that Irene D. Martinez be discharged

from Saint Anthony Hospital’s Labor and Delivery Triage Department, with instructions to

return home and remain hydrated.

         45. On December 4, 2016, when Irene D. Martinez presented to Sandra L. Hoogland,

M.D. in the Labor and Delivery Triage Department of Saint Anthony Hospital, she was four

days past the due date of her pregnancy. The fetal heart rate demonstrated a prolonged

deceleration suspicious for placental insufficiency. At that time, and under those circumstances,

Sandra L. Hoogland, M.D. should have ordered the admission of Irene D. Martinez for

observation and/or induction of labor, instead of ordering her discharge from the hospital.

         46. On December 7, 2016, Irene D. Martinez presented to the Emergency Department of

Saint Anthony Hospital with complaints of continued cramping and loss of detectable fetal

movement. A stillborn baby was delivered by Caesarian section. The cause of death of stillborn


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      Case: 1:19-cv-05981 Document #: 1 Filed: 09/06/19 Page 9 of 27 PageID #:9




death was determined to be acute chorioamnionitis with deciduduitis with meconium staining,

resulting in aspiration pneumonia and congestion/hemorrhage of multiple organs.

       47. On and after December 4, 2016, and at all other times material, Defendant, United

States of America, by and through the acts and/or omissions of its employee and/or agent,

including but not limited to Sandra L. Hoogland, M.D., was negligent and deviated from the

standard of care and treatment of the Plaintiff in one or more of the following respects,

individually and/or collectively:

   a. Sandra L. Hoogland, M.D. failed to properly interpret the December 4, 2016 fetal heart
      rate as demonstrative of a prolonged deceleration;
   b. Sandra L. Hoogland, M.D. failed to properly interpret the December 4, 2016 fetal non-
      stress test as non-reactive;
   c. Sandra L. Hoogland, M.D. failed to order the admission of Irene D. Martinez to the
      hospital for observation; and/or
   d. Sandra L. Hoogland, M.D. failed to order the induction of labor of Irene D. Martinez.

       48. As a direct and proximate result of one or more of the foregoing negligent acts or

omissions on the part of the Defendant, United States of America, by and through the acts

and/or omissions of its employee and/or agent, including but not limited to Sandra L.

Hoogland, M.D., the Plaintiff’s decedent, Martin Pagan, Jr., sustained injuries that resulted in

the death of Martin Pagan, Jr..

       49. Prior to the death of the Plaintiff’s decedent, Martin Pagan, Jr., the Plaintiff’s

decedent suffered conscious pain and suffering.

       50. Plaintiff brings this action under the Survival Act, 755 ILCS 5/27-6.

       51. The Plaintiff has attached the Affidavit of her attorney, pursuant to the provisions of

735 ILCS 5/2-622(a)(2), verifying that this action has not been previously voluntarily dismissed

and that the Plaintiff has been able to obtain a consultation required by 735 ILCS 5/2-622(a)(1),

and such Affidavit has been identified and attached hereto as Exhibit 2. The corresponding

report of the qualified physician is attached hereto as Exhibit 3.


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     Case: 1:19-cv-05981 Document #: 1 Filed: 09/06/19 Page 10 of 27 PageID #:10




         WHEREFORE, Irene D. Martinez, as Special Administrator of the Estate of Martin

Pagan, Jr., deceased, demands judgment against Defendant, United States of America, by and

through the acts and/or omissions of its employee and/or agent including, but not limited to

Sandra Hoogland, M.D., in an amount in excess of Fifty Thousand Dollars ($50,000.00), plus

costs of suit.



                                           Count 3
                     Estate of Martin Pagan, Jr. vs. Sandra Hoogland, M.D.
                    Medical Negligence: Wrongful Death of Martin Pagan, Jr.

         52. On December 4, 2016, Irene D. Martinez was a 21-year-old pregnant female.

         53. On December 4, 2016 and at all other times relevant hereto, the Defendant, Sandra L.

Hoogland, M.D., was acting as a physician employed by the United States of America and

acting within the scope of her employment at all times relevant to this Complaint and within

this District.

         54. On December 4, 2016, the pregnancy of Irene D. Martinez was forty (40) weeks plus

four (4) days in gestational duration. In other words, the pregnancy was four (4) days beyond

its projected due date.

         55. On December 4, 2016, Irene D. Martinez presented herself to the care of Sandra L.

Hoogland, M.D. at the Labor and Delivery Triage Department of Saint Anthony Hospital. At

that time, the Plaintiff, Irene D. Martinez, complained of cramping, contractions, and labor

pains.

         56. At that time, a fetal heart monitor was applied, and the fetal heart rate was thereby

recorded. Beginning at approximately 3:02 p.m. on December 4, 2016, the fetal heart rate

demonstrated a prolonged deceleration which can be associated with placental insufficiency.




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    Case: 1:19-cv-05981 Document #: 1 Filed: 09/06/19 Page 11 of 27 PageID #:11




       57. The prolonged deceleration of fetal heart rate represented a nonreactive non-stress

test (NST) of fetal heart rate. It demonstrated a condition suspicious for placental insufficiency.

       58. Sandra L. Hoogland, M.D. ordered a biophysical profile, which was interpreted as

representing a normal biophysical profile.

       59. Sandra L. Hoogland, M.D. thereafter ordered that Irene D. Martinez be discharged

from Saint Anthony Hospital’s Labor and Delivery Triage Department, with instructions to

return home and remain hydrated.

       60. On December 4, 2016, when Irene D. Martinez presented to Sandra L. Hoogland,

M.D. in the Labor and Delivery Triage Department of Saint Anthony Hospital, she was four

days past the due date of her pregnancy. The fetal heart rate demonstrated a prolonged

deceleration suspicious for placental insufficiency. At that time, and under those circumstances,

Sandra L. Hoogland, M.D. should have ordered the admission of Irene D. Martinez for

observation and/or induction of labor, instead of ordering her discharge from the hospital.

       61. On December 7, 2016, Irene D. Martinez presented to the Emergency Department of

Saint Anthony Hospital with complaints of continued cramping and loss of detectable fetal

movement. A stillborn baby was delivered by Caesarian section. The cause of death of stillborn

death was determined to be acute chorioamnionitis with deciduduitis with meconium staining,

resulting in aspiration pneumonia and congestion/hemorrhage of multiple organs.

       62. On and after December 4, 2016, and at all other times material, Defendant, United

States of America, by and through the acts and/or omissions of its employee and/or agent,

including but not limited to Sandra L. Hoogland, M.D., was negligent and deviated from the

standard of care and treatment of the Plaintiff in one or more of the following respects,

individually and/or collectively:




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    Case: 1:19-cv-05981 Document #: 1 Filed: 09/06/19 Page 12 of 27 PageID #:12




   a. Sandra L. Hoogland, M.D. failed to properly interpret the December 4, 2016 fetal heart
      rate as demonstrative of a prolonged deceleration;
   b. Sandra L. Hoogland, M.D. failed to properly interpret the December 4, 2016 fetal non-
      stress test as non-reactive;
   c. Sandra L. Hoogland, M.D. failed to order the admission of Irene D. Martinez to the
      hospital for observation; and/or
   d. Sandra L. Hoogland, M.D. failed to order the induction of labor of Irene D. Martinez.

       63. As a direct and proximate result of one or more of the foregoing negligent acts or

omissions on the part of the Defendant, United States of America, by and through the acts

and/or omissions of its employee and/or agent, including but not limited to Sandra L.

Hoogland, M.D., the Plaintiff’s decedent, Martin Pagan, Jr., sustained injuries that resulted in

the death of Martin Pagan, Jr..

       64. Irene D. Martinez, as mother, and Martin Pagan, as father, the only next of kin, each

of whom are still living, by reason of the death of Martin Pagan, Jr., have been deprived of the

decedent’s companionship, society, services, support and valuable services, which Martin

Pagan, Jr., deceased, would have given them, all to the damage of the Plaintiff as Special

Administrator of the Estate of Martin Pagan, Jr., including the expenses for funeral and burial.

       65. This action was filed pursuant to 740 ILCS 180/1, et.seq., commonly referred to as the

Wrongful Death Act.

       66. The Plaintiff has attached the Affidavit of her attorney, pursuant to the provisions of

735 ILCS 5/2-622(a)(2), verifying that this action has not been previously voluntarily dismissed

and that the Plaintiff has been able to obtain a consultation required by 735 ILCS 5/2-622(a)(1),

and such Affidavit has been identified and attached hereto as Exhibit 2. The corresponding

report of the qualified physician is attached hereto as Exhibit 3.

       WHEREFORE, Irene D. Martinez, as Special Administrator of the Estate of Martin

Pagan, Jr., deceased, demands judgment against Defendant, Sandra Hoogland, M.D., in an

amount in excess of Fifty Thousand Dollars ($50,000.00), plus costs of suit.


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     Case: 1:19-cv-05981 Document #: 1 Filed: 09/06/19 Page 13 of 27 PageID #:13



                                           Count 4
                     Estate of Martin Pagan, Jr. vs. Sandra Hoogland, M.D.
                    Medical Negligence: Survival Action of Martin Pagan, Jr.

         67. On December 4, 2016, Irene D. Martinez was a 21-year-old pregnant female.

         68. On December 4, 2016 and at all other times relevant hereto, the Defendant, Sandra L.

Hoogland, M.D., was acting as a physician employed by the United States of America and

acting within the scope of her employment at all times relevant to this Complaint and within

this District.

         69. On December 4, 2016, the pregnancy of Irene D. Martinez was forty (40) weeks plus

four (4) days in gestational duration. In other words, the pregnancy was four (4) days beyond

its projected due date.

         70. On December 4, 2016, Irene D. Martinez presented herself to the care of Sandra L.

Hoogland, M.D. at the Labor and Delivery Triage Department of Saint Anthony Hospital. At

that time, the Plaintiff, Irene D. Martinez, complained of cramping, contractions, and labor

pains.

         71. At that time, a fetal heart monitor was applied, and the fetal heart rate was thereby

recorded. Beginning at approximately 3:02 p.m. on December 4, 2016, the fetal heart rate

demonstrated a prolonged deceleration which can be associated with placental insufficiency.

         72. The prolonged deceleration of fetal heart rate represented a nonreactive non-stress

test (NST) of fetal heart rate. It demonstrated a condition suspicious for placental insufficiency.

         73. Sandra L. Hoogland, M.D. ordered a biophysical profile, which was interpreted as

representing a normal biophysical profile.

         74. Sandra L. Hoogland, M.D. thereafter ordered that Irene D. Martinez be discharged

from Saint Anthony Hospital’s Labor and Delivery Triage Department, with instructions to

return home and remain hydrated.


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    Case: 1:19-cv-05981 Document #: 1 Filed: 09/06/19 Page 14 of 27 PageID #:14




       75. On December 4, 2016, when Irene D. Martinez presented to Sandra L. Hoogland,

M.D. in the Labor and Delivery Triage Department of Saint Anthony Hospital, she was four

days past the due date of her pregnancy. The fetal heart rate demonstrated a prolonged

deceleration suspicious for placental insufficiency. At that time, and under those circumstances,

Sandra L. Hoogland, M.D. should have ordered the admission of Irene D. Martinez for

observation and/or induction of labor, instead of ordering her discharge from the hospital.

       76. On December 7, 2016, Irene D. Martinez presented to the Emergency Department of

Saint Anthony Hospital with complaints of continued cramping and loss of detectable fetal

movement. A stillborn baby was delivered by Caesarian section. The cause of death of stillborn

death was determined to be acute chorioamnionitis with deciduduitis with meconium staining,

resulting in aspiration pneumonia and congestion/hemorrhage of multiple organs.

       77. On and after December 4, 2016, and at all other times material, Defendant, United

States of America, by and through the acts and/or omissions of its employee and/or agent,

including but not limited to Sandra L. Hoogland, M.D., was negligent and deviated from the

standard of care and treatment of the Plaintiff in one or more of the following respects,

individually and/or collectively:

   a. Sandra L. Hoogland, M.D. failed to properly interpret the December 4, 2016 fetal heart
      rate as demonstrative of a prolonged deceleration;
   b. Sandra L. Hoogland, M.D. failed to properly interpret the December 4, 2016 fetal non-
      stress test as non-reactive;
   c. Sandra L. Hoogland, M.D. failed to order the admission of Irene D. Martinez to the
      hospital for observation; and/or
   d. Sandra L. Hoogland, M.D. failed to order the induction of labor of Irene D. Martinez.

       78. As a direct and proximate result of one or more of the foregoing negligent acts or

omissions on the part of the Defendant, United States of America, by and through the acts

and/or omissions of its employee and/or agent, including but not limited to Sandra L.

Hoogland, M.D., the Plaintiff’s decedent, Martin Pagan, Jr., sustained injuries that resulted in


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     Case: 1:19-cv-05981 Document #: 1 Filed: 09/06/19 Page 15 of 27 PageID #:15




the death of Martin Pagan, Jr..

        79. Prior to the death of the Plaintiff’s decedent, Martin Pagan, Jr., the Plaintiff’s

decedent suffered conscious pain and suffering.

        80. Plaintiff brings this action under the Survival Act, 755 ILCS 5/27-6.

        81. The Plaintiff has attached the Affidavit of her attorney, pursuant to the provisions of

735 ILCS 5/2-622(a)(2), verifying that this action has not been previously voluntarily dismissed

and that the Plaintiff has been able to obtain a consultation required by 735 ILCS 5/2-622(a)(1),

and such Affidavit has been identified and attached hereto as Exhibit 2. The corresponding

report of the qualified physician is attached hereto as Exhibit 3.

        WHEREFORE, Irene D. Martinez, as Special Administrator of the Estate of Martin

Pagan, Jr., deceased, demands judgment against Defendant, Sandra Hoogland, M.D., in an

amount in excess of Fifty Thousand Dollars ($50,000.00), plus costs of suit.



                                           Count 5
                        Irene D. Martinez vs. United States of America
                   Medical Negligence: Personal Injuries of Irene D. Martinez

        82. On December 4, 2016, Irene D. Martinez was a 21-year-old pregnant female.

        83. On December 4, 2016 and at all other times relevant hereto, Lawndale Christian

Health Center operated as a federally-funded health care center, located within the County of

Cook, State of Illinois.

        84. On December 4, 2016 and at all other times relevant hereto, Lawndale Christian

Health Center provided health care services to the general public that included, but were not

limited to, family medicine and obstetrics and gynecology.




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     Case: 1:19-cv-05981 Document #: 1 Filed: 09/06/19 Page 16 of 27 PageID #:16




        85. On December 4, 2016 and at all other times relevant hereto, Lawndale Christian

Health Center operated a clinic located at 3860 West Ogden Avenue, Chicago, Cook County,

Illinois.

        86. On December 4, 2016 and at all other times relevant hereto, the Defendant, United

States of America, employed a staff of health care professionals at Lawndale Christian Health

Center including but not limited to physicians, certified nurse midwives and other medical

practitioners.

        87. On December 4, 2016 and at all other times relevant hereto, the staff of health care

professionals including, but not limited to physicians, certified nurse midwives and other

medical practitioners working at Lawndale Christian Health Center, were the employees

and/or agents of the Defendant, United States of America.

        88. On December 4, 2016 and at all other times relevant hereto, the Defendant, United

States of America, permitted its staff of health care professionals to manage the care of patients

in various fields of medicine including, but not limited to, the medical fields of family practice

and obstetrics and gynecology.

        89. On December 4, 2016 and at all other times relevant hereto, the Defendant, Sandra L.

Hoogland, M.D., was acting as a physician employed by the United States of America and

acting within the scope of her employment at all times relevant to this Complaint and within

this District.

        90. On December 4, 2016, the pregnancy of Irene D. Martinez was forty (40) weeks plus

four (4) days in gestational duration. In other words, the pregnancy was four (4) days beyond

its projected due date.




                                              16
    Case: 1:19-cv-05981 Document #: 1 Filed: 09/06/19 Page 17 of 27 PageID #:17




         91. On December 4, 2016, Irene D. Martinez presented herself to the care of Sandra L.

Hoogland, M.D. at the Labor and Delivery Triage Department of Saint Anthony Hospital. At

that time, the Plaintiff, Irene D. Martinez, complained of cramping, contractions, and labor

pains.

         92. At that time, a fetal heart monitor was applied, and the fetal heart rate was thereby

recorded. Beginning at approximately 3:02 p.m. on December 4, 2016, the fetal heart rate

demonstrated a prolonged deceleration which can be associated with placental insufficiency.

         93. The prolonged deceleration of fetal heart rate represented a nonreactive non-stress

test (NST) of fetal heart rate. It demonstrated a condition suspicious for placental insufficiency.

         94. Sandra L. Hoogland, M.D. ordered a biophysical profile, which was interpreted as

representing a normal biophysical profile.

         95. Sandra L. Hoogland, M.D. thereafter ordered that Irene D. Martinez be discharged

from Saint Anthony Hospital’s Labor and Delivery Triage Department, with instructions to

return home and remain hydrated.

         96. On December 4, 2016, when Irene D. Martinez presented to Sandra L. Hoogland,

M.D. in the Labor and Delivery Triage Department of Saint Anthony Hospital, she was four

days past the due date of her pregnancy. The fetal heart rate demonstrated a prolonged

deceleration suspicious for placental insufficiency. At that time, and under those circumstances,

Sandra L. Hoogland, M.D. should have ordered the admission of Irene D. Martinez for

observation and/or induction of labor, instead of ordering her discharge from the hospital.

         97. On December 7, 2016, Irene D. Martinez presented to the Emergency Department of

Saint Anthony Hospital with complaints of continued cramping and loss of detectable fetal

movement. A stillborn baby was delivered by Caesarian section. The cause of death of stillborn

death was determined to be acute chorioamnionitis with deciduduitis with meconium staining,


                                               17
    Case: 1:19-cv-05981 Document #: 1 Filed: 09/06/19 Page 18 of 27 PageID #:18




resulting in aspiration pneumonia and congestion/hemorrhage of multiple organs.

       98. On and after December 4, 2016, and at all other times material, Defendant, United

States of America, by and through the acts and/or omissions of its employee and/or agent,

including but not limited to Sandra L. Hoogland, M.D., was negligent and deviated from the

standard of care and treatment of the Plaintiff in one or more of the following respects,

individually and/or collectively:

   a. Sandra L. Hoogland, M.D. failed to properly interpret the December 4, 2016 fetal heart
      rate as demonstrative of a prolonged deceleration;
   b. Sandra L. Hoogland, M.D. failed to properly interpret the December 4, 2016 fetal non-
      stress test as non-reactive;
   c. Sandra L. Hoogland, M.D. failed to order the admission of Irene D. Martinez to the
      hospital for observation; and/or
   d. Sandra L. Hoogland, M.D. failed to order the induction of labor of Irene D. Martinez.

       99. As a direct and proximate result of one or more of the foregoing negligent acts or

omissions on the part of the Defendant, United States of America, by and through the acts

and/or omissions of its employee and/or agent, including but not limited to Sandra L.

Hoogland, M.D., the Plaintiff, Irene D. Martinez, suffered serious injuries to her person whereby

she has suffered and will in the future suffer pain and suffering, loss of a normal life, and

emotional distress; by reason of her injuries she was and in the future will be hindered and

prevented from attending to her usual duties and affairs; and she has incurred medical and

health care bills and expenses, and she has incurred and will in the future incur loss of income.

       100. The Plaintiff has attached the Affidavit of her attorney, pursuant to the provisions

of 735 ILCS 5/2-622(a)(2), verifying that this action has not been previously voluntarily

dismissed and that the Plaintiff has been able to obtain a consultation required by 735 ILCS 5/2-

622(a)(1), and such Affidavit has been identified and attached hereto as Exhibit 2. The

corresponding report of the qualified physician is attached hereto as Exhibit 3.




                                              18
     Case: 1:19-cv-05981 Document #: 1 Filed: 09/06/19 Page 19 of 27 PageID #:19




         WHEREFORE, the Plaintiff, Irene D. Martinez, individually, demands judgment against

Defendant, United States of America, by and through the acts and/or omissions of its employee

and/or agent including, but not limited to Sandra Hoogland, M.D., in an amount in excess of

Fifty Thousand Dollars ($50,000.00), plus costs of suit.


                                           Count 6
                        Irene D. Martinez vs. Sandra Hoogland, M.D.
                   Medical Negligence: Personal Injuries of Irene D. Martinez

         101. On December 4, 2016, Irene D. Martinez was a 21-year-old pregnant female.

         102. On December 4, 2016 and at all other times relevant hereto, the Defendant, Sandra

L. Hoogland, M.D., was acting as a physician employed by the United States of America and

acting within the scope of her employment at all times relevant to this Complaint and within

this District.

         103. On December 4, 2016, the pregnancy of Irene D. Martinez was forty (40) weeks plus

four (4) days in gestational duration. In other words, the pregnancy was four (4) days beyond

its projected due date.

         104. On December 4, 2016, Irene D. Martinez presented herself to the care of Sandra L.

Hoogland, M.D. at the Labor and Delivery Triage Department of Saint Anthony Hospital. At

that time, the Plaintiff, Irene D. Martinez, complained of cramping, contractions, and labor

pains.

         105. At that time, a fetal heart monitor was applied, and the fetal heart rate was thereby

recorded. Beginning at approximately 3:02 p.m. on December 4, 2016, the fetal heart rate

demonstrated a prolonged deceleration which can be associated with placental insufficiency.

         106. The prolonged deceleration of fetal heart rate represented a nonreactive non-stress

test (NST) of fetal heart rate. It demonstrated a condition suspicious for placental insufficiency.




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    Case: 1:19-cv-05981 Document #: 1 Filed: 09/06/19 Page 20 of 27 PageID #:20




       107. Sandra L. Hoogland, M.D. ordered a biophysical profile, which was interpreted as

representing a normal biophysical profile.

       108. Sandra L. Hoogland, M.D. thereafter ordered that Irene D. Martinez be discharged

from Saint Anthony Hospital’s Labor and Delivery Triage Department, with instructions to

return home and remain hydrated.

       109. On December 4, 2016, when Irene D. Martinez presented to Sandra L. Hoogland,

M.D. in the Labor and Delivery Triage Department of Saint Anthony Hospital, she was four

days past the due date of her pregnancy. The fetal heart rate demonstrated a prolonged

deceleration suspicious for placental insufficiency. At that time, and under those circumstances,

Sandra L. Hoogland, M.D. should have ordered the admission of Irene D. Martinez for

observation and/or induction of labor, instead of ordering her discharge from the hospital.

       110. On December 7, 2016, Irene D. Martinez presented to the Emergency Department of

Saint Anthony Hospital with complaints of continued cramping and loss of detectable fetal

movement. A stillborn baby was delivered by Caesarian section. The cause of death of stillborn

death was determined to be acute chorioamnionitis with deciduduitis with meconium staining,

resulting in aspiration pneumonia and congestion/hemorrhage of multiple organs.

       111. On and after December 4, 2016, and at all other times material, Defendant, Sandra L.

Hoogland, M.D., was negligent and deviated from the standard of care and treatment of the

Plaintiff in one or more of the following respects, individually and/or collectively:

   a. Sandra L. Hoogland, M.D. failed to properly interpret the December 4, 2016 fetal heart
      rate as demonstrative of a prolonged deceleration;
   b. Sandra L. Hoogland, M.D. failed to properly interpret the December 4, 2016 fetal non-
      stress test as non-reactive;
   c. Sandra L. Hoogland, M.D. failed to order the admission of Irene D. Martinez to the
      hospital for observation; and/or
   d. Sandra L. Hoogland, M.D. failed to order the induction of labor of Irene D. Martinez.

       112. As a direct and proximate result of one or more of the foregoing negligent acts or


                                               20
     Case: 1:19-cv-05981 Document #: 1 Filed: 09/06/19 Page 21 of 27 PageID #:21




omissions on the part of the Defendant, Sandra L. Hoogland, M.D., the Plaintiff, Irene D.

Martinez, suffered serious injuries to her person whereby she has suffered and will in the future

suffer pain and suffering, loss of a normal life, and emotional distress; by reason of her injuries

she was and in the future will be hindered and prevented from attending to her usual duties

and affairs; and she has incurred medical and health care bills and expenses, and she has

incurred and will in the future incur loss of income.

        113. The Plaintiff has attached the Affidavit of her attorney, pursuant to the provisions

of 735 ILCS 5/2-622(a)(2), verifying that this action has not been previously voluntarily

dismissed and that the Plaintiff has been able to obtain a consultation required by 735 ILCS 5/2-

622(a)(1), and such Affidavit has been identified and attached hereto as Exhibit 2. The

corresponding report of the qualified physician is attached hereto as Exhibit 3.

        WHEREFORE, the Plaintiff, Irene D. Martinez, individually, demands judgment against

Defendant, Sandra Hoogland, M.D., in an amount in excess of Fifty Thousand Dollars

($50,000.00), plus costs of suit.

                                                IRENE D. MARTINEZ, individually and
                                                as special administrator of the estate of
                                                Martin Pagan, Jr., deceased, Plaintiff,

                                          By:          /s/ James W. Mertes
                                                MERTES & MERTES, P.C.
                                                Mr. James W. Mertes, Esq. (06216546)
                                                Attorneys for Plaintiff

Mr. James W. Mertes, Esq.
ARDC No. 06216546
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                                                 21
     Case: 1:19-cv-05981 Document #: 1 Filed: 09/06/19 Page 22 of 27 PageID #:22




                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

                                                     }
IRENE D. MARTINEZ, Individually and                  }
as Special Administrator of the Estate of            }
Martin Pagan, Jr., deceased,                         }
                                                     }
              Plaintiff,                             }
                                                     }
       vs.                                           }   No. _ _ _ __
                                                     }
UNITED STATES OF AMERICA and                         }
SANDRA HOOGLAND, M.D.,                               }
                                                     }
               Defendants.                           }
                                                     }

                                        JURY DEMAND

       Plaintiffs, Irene D. Martinez, individually and as special administrator of the estate of
Martin Pagan, Jr., deceased, hereby demand a trial by jury.


                                                  IRENE D. MARTINEZ, individually and
                                                  as special administrator of the estate of
                                                  Martin Pagan, Jr., deceased, Plaintiff,

                                            By:          /s/ Tames W. Mertes
                                                  MERTES & MERTES, P.C.
                                                  Mr. James W. Mertes, Esq. (06216546)
                                                  Attorneys for Plaintiff



Mr. James W. Mertes, Esq.
ARDC No. 06216546
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Case: 1:19-cv-05981 Document #: 1 Filed: 09/06/19 Page 23 of 27 PageID #:23




                                                               EXHIBIT 1
      Case: 1:19-cv-05981 Document #: 1 Filed: 09/06/19 Page 24 of 27 PageID #:24




                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION


IRENE D. MARTINEZ, Individually and
as Special Administrator of the Estate of
Martin Pagan, Jr., deceased,

                 Plaintiff,

       VS.                                            No. _ _ _ __

UNITED STATES OF AMERICA                              Jury Demand
and SANDRA L. HOOGLAND, M.D.,

                 Defendants.


                                AFFIDAVIT OF PLAINTIFFS' ATTORNEY

       I, James W. Mertes, being first duly sworn on oath, depose and state as follows:
       1. I am the attorney of record for the Plaintiffs herein and have knowledge of the facts
stated herein.
       2. I have consulted and reviewed the facts of the case with a health professional whom I
reasonably believe is knowledgeable in the relevant issues involved in this particular action and
who practices or has practiced within the last six years, or teaches or has taught within the last
six years, in the same area of health care or medicine that is at issue in this particular action and
meets the expert witness standards set forth in paragraphs (a) through (d) of Section 8-2501.
       3. The profession of the reviewing health professional is that of a medical doctor,
licensed in all its branches to practice medicine, and such health professional is qualified by
experience or has demonstrated competence in the subject of this case.




                                                                      Exhibit 2
      Case: 1:19-cv-05981 Document #: 1 Filed: 09/06/19 Page 25 of 27 PageID #:25




       4. The reviewing health professional has determined, in a written report, after a review
of the medical records and other relevant materials involved in the particular action, that there
is reasonable and meritorious cause for the filing of such action.
       5. Affiant concluded, on the basis of the reviewing health professional's review and
consultation, that there is a reasonable and meritorious cause for filing such action.
       6. Affiant has identified said reviewing health professional certificates of merit pursuant
to 735 ILCS 5/2-622, and the same has been attached hereto as Exhibit 3 and is hereby
incorporated herein by this reference.




Subscribed and sworn to before me
this C, tt1 day of September, 2019.




Mr. James W. Mertes
ARDC No. 06216546
MERTES & MERTES, P.C.
Attorney for Plaintiff
4015 East Lincolnway, Suite D
Sterling, IL 61081
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Secondary email: pleadings@mertesandmertes.com
     Case: 1:19-cv-05981 Document #: 1 Filed: 09/06/19 Page 26 of 27 PageID #:26




    December 3, 2018

    Re:    Irene D. Martinez and Martin Pagan, Jr., deceased fetus

                           2~22 CERTIFICATE OF MERIT
      AS TO SANDRA L. HOOGLAND, M.D., LAWNDALE CHRISTIAN HEALTH CENTER
                         AND SAINT ANTIIONY HOSPITAL :
                                                                             I
                                                                             I


            I am a physician and health professional licensed to practice m~dicine in all of its branches.
    I have reviewed the medical records, facts, and other relevant material relative to Irene D.
    Martinez and Martin Pagan, Jr., deceased fetus, and flnd that there is a reasonable and
    meritorious basis for a healing art malpractice cause of action. I am knowledgeable in the relevant
    issues, qualified by experience and training and I have practiced in the same area of health care
    or medicine that is at issue in this particular action, within the past six years. For the reasons to
    follow below, I am of the opinio~ which I hold to a reasonable degree of medical and scientific
    certainty, that the acts and/or omissions of the Defendant, Sandra L. Hoogland, M.D.,
    individually and as real or apparent agent of Lawndale Ouistian Health Center, NFP and Saint
J   Anthony Hospital, proximately caused or contributed to cause the injuries and damages suffered
    by Irene D. Martinez and Martin Pagan, Jr. My reasons are as follows:

           1. On December 4, 2016, Irene D. Martinez was a 21-year-old pregnant female.

           2. On that same date, the pregnancy of Irene D. Martinez was forty (40) weeks plus four
              (4) days in gestational duration. In other words, the pregnancy was four (4) days
              beyond its projected due date.

           3. On that same date, Irene D. Martinez presented herself to the care of Sandra L.
               Hoogland, M.D. at the Labor and Delivery Triage Department of Saint Anthony
               HospitaL At that time, she complained of cramping, contractions, and labor pains.

           4. At that time, a fetal heart monitor was applied, and the fetal heart rate was thereby
              recorded. Beginning at approximately 3:02 p.m. on December 4, 2016, the fetal heart
              rate demonstrated a prolonged deceleration which can be associated with placental
              insufficiency.

           5. In addition to the prolonged deceleration of fetal heart rate, the fetal monitor strip was
               non-reactive. Those conditions demonstrated a condition suspicious for placental
               insufficiency.

           6. Sandra L. Hoogland, M.D. ordered a Biophysical Profile,. which was interpreted as
              representing a normal biophysical profile.

           7. Sandra L. Hoogland, M.D. thereafter ordered that Irene D. Martinez be discharged
              from Saint Anthony Hospital's Labor and Delivery Triage Department, with
              instructions to return home and remain hydrated.




                                                                                              Page 1 of2

                                                                                             Exhibit 3
  Case: 1:19-cv-05981 Document #: 1 Filed: 09/06/19 Page 27 of 27 PageID #:27




        8. On December 7, 2016, Irene D. Martinez presented to the Emergency Department of
           Saint Anthony Hospital with complaints of continued cramping and loss of detectable
           fetal movement. A stillborn baby was delivered by Caesarian section. The cause of
           death of stillborn death was determined to be acute chorioamnionitis with
           deciduduitis with meconium staining, resulting in aspiration pneumonia and
           congestion/hemorrhage of multiple organs.

        9. When Irene D. Martinez presented to Sandra L. Hoogland, M.D. in the Labor and
           Delivery Triage Department of Saint Anthony Hospital, she was four days past the
           due date of her pregnancy. The fetal heart rate demonstrated a prolonged deceleration
           suspicious for placental insufficiency. At that time, and under those circumstances,
           Sandra L. Hoogland, M.D. should have ordered the admission of Irene D. Martinez
           for observation and/ or induction of labor.

        10. A meritorious cause of action exists as to Sandra L. Hoogland, M.D., in each and all of
            the following respects, individually and/ or collectively:
            a. Sandra L. Hoogland, M.D. failed to properly interpret the December 4, 2016 fetal
                heart rate as demonstrative of a prolonged deceleration;
            b. Sandra L. Hoogland, M.D. failed to properly interpret the December 4, 2016 fetal
                non-stress test as non-reactive;
            c. Sandra L. Hoogland, M.D. failed to order the admission of Irene D. Martinez to
                the hospital for observation; and/ or          .
            d. Sandra L. Hoogland, M.D. failed to order the induction of labor of Irene D.
                Martinez.

       11. A meritorious cause of action exists as to Saint Anthony Hospital in that, upon
           information and belief, Sandra L. Hoogland, M.D. acted as a real or apparent agent of
           Saint Anthony Hospital at the time that she committed the acts and omissions
           aforesaid.

       12. A meritorious cause of action exists as to Lawndale Christian Health Center in that,
           upon infonnation and belief, Sandra L. Hoogland, M.D. acted as a real or apparent
           agent of Lawndale Christian Health Center at the time that she committed the acts and
           omissions aforesaid.




      H. Holt, M.D.
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Skokie, IL 60077
State of Licensure: Illinois
License No. 036057408




                                                                                       Page 2 of2
